    Case 3:21-cv-01112-B Document 4 Filed 06/02/23                  Page 1 of 1 PageID 47    FILED
                                                                                      June 5, 2023
                                                                                        KAREN MITCHELL
                                                                                      CLERK, U.S. DISTRICT
                                                                                            COURT
                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION



                                 SPECIAL ORDER NO. 3-348

       The clerk is directed to randomly reassign to active Dallas division judges all pending Dallas
division cases assigned to Senior Judge Sam R. Cummings. If a closed Dallas division case assigned
to Judge Cummings is later reopened, the clerk is to randomly assign that case to an active Dallas
division judge.


       SO ORDERED.

       June 2, 2023




                                                      DAVID
                                                          D C. GODBEY
                                                               GOD
                                                                 DBEY
                                                          F JUDGE
                                                      CHIEF
